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 7   Attorneys for Defendants Silva and Hicks

 8                            IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                           FRESNO DIVISION
11

12
     MICHAEL MADDEN, Successor-in-                            1:18-CV-00255-ADA-BAM
13   Interest to Ryan P. Madden, et al.,
                                                              DEFENDANTS’ NOTICE OF MOTION
14                                          Plaintiffs,       AND MOTION FOR SUMMARY
                                                              JUDGMENT BASED ON EXHAUSTION
15                  v.                                        OF ADMINISTRATIVE REMEDIES
16                                                            Judge:        The Honorable Barbara A.
     HICKS, et al.,                                                         McAuliffe
17                                                            Trial Date:   Not Set
                                          Defendants.         Action Filed: February 22, 2018
18

19
20         TO MICHAEL AND KATHLEEN MADDEN, SUCCESSORS-IN-INTEREST TO

21   RYAN P. MADDEN AND PLAINTIFFS PRO SE:

22         PLEASE TAKE NOTICE that under Federal Rule of Civil Procedure 56 and Eastern

23   District Local Rule 230(l), Defendants Silva and Hicks move for summary judgment on the

24   grounds that the undisputed facts establish the former plaintiff and decedent, Ryan Madden, failed

25   to exhaust his administrative remedies prior to filing this lawsuit.

26         PLEASE TAKE FURTHER NOTICE that a summary of the law governing Plaintiffs’

27   obligations with respect to opposing a motion for summary judgment, as required by Rand v.

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                                                          1
     Defs.’ Not. Mot. & Mot. Summ. J. Based on Exhaustion of Administrative Remedies (1:18-CV-00255-ADA-BAM)
     Case 1:18-cv-00255-ADA-BAM Document 70 Filed 10/03/23 Page 2 of 2


 1   Rowland, 154 F.3d 952 (9th Cir. 1998), and Woods v. Carey, 684 F.3d 934 (9th Cir. 2012), is

 2   being served concurrently with this motion.

 3         PLEASE TAKE FURTHER NOTICE that under Local Rule 230(l), this motion is

 4   submitted on the record without oral argument unless otherwise ordered by Court. You are

 5   required to file an opposition or statement of non-opposition to this motion under Local Rule

 6   230(l). The opposition or statement of non-opposition must be filed no more than twenty-one

 7   days after the date of service of this motion. Failure to oppose the motion may be deemed a

 8   waiver of any opposition to the granting of the motion.

 9         This motion is based on this notice and motion; the supporting memorandum of points and
10   authorities; the statement of undisputed material facts; declaration of H. Moseley, and exhibits
11   filed herewith; the pleadings, records, and files in this action; and such other matters as may
12   properly come before the court.
13   Dated: October 3, 2023                                Respectfully submitted,
14                                                         ROB BONTA
                                                           Attorney General of California
15                                                         TYLER V. HEATH
                                                           Supervising Deputy Attorney General
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17
                                                           /s/Brian S. Chan
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20                                                         BRIAN S. CHAN
                                                           Deputy Attorney General
21                                                         Attorneys for Defendants
                                                           Silva and Hicks
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     Defs.’ Not. Mot. & Mot. Summ. J. Based on Exhaustion of Administrative Remedies (1:18-CV-00255-ADA-BAM)
